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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 THE ASSOCIATED PRESS,

                Plaintiff,

        v.
                                                         Civil Action No. 25-0532 (TNM)
 TAYLOR BUDOWICH,
 White House Deputy Chief of Staff, et al.,

                Defendants.


                                    NOTICE OF APPEAL

       Defendants—Taylor Budowich, in his official capacity as White House Deputy Chief of

Staff; Karoline Leavitt, in her official capacity as White House Press Secretary; and Susan Wiles,

in her official capacity as White House Chief of Staff—respectfully provide notice that they hereby

appeal to the United States Court of Appeals for the District of Columbia Circuit from the Court’s

Memorandum Order of April 8, 2025 (ECF No. 46), which granted the motion for a preliminary

injunction filed by Plaintiff the Associated Press and entered a preliminary injunction against

Defendants.

 Dated: April 9, 2025                          Respectfully submitted,
        Washington, DC
                                               EDWARD R. MARTIN, JR., D.C. Bar #481866
                                               United States Attorney


                                               By:           /s/ Brian P. Hudak
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                                               Attorneys for the United States of America
